Case 3:15-CV-00666-|\/| Document 54 Filed 08/12/16 Page 1 of 1 Page|D 446

IN THE UNITED STATES DISTRICT
FOR THE NORTHERN DISTRICT OF TEXAS
])ALLAS I)IVISION

NIC SALOMON,

Plaintiff,
v. CIVIL ACTION NO. 3:15-CV-0666-M
KROENKE SPORTS &
ENTERTAINMENT, LLC, OUTDOOR
CHANNEL HOLDINGS, INC., and
PACIFIC NORTHERN CAPITAL, LLC,

Defendants.
FINAL JUDGMENT

Por the reasons stated in the Memorandum Opinion and Order dated August 12, -2016,
PlaintiffNic Salcmon failed to establish that he has Al'ticle Hl standing, pzudential standing, or is
the real party in interest entitled to bring the claims asserted in this lawsuit Therefoi'e,

lT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff’s claims against
Defendants Ki'cenke Spolts & Entertaimnent, LLC, Outdooi' Chamiel Hcldings, Inc., and Paciiic
Nortliem Capital, LLC are ])ISMISSED without prejudice for lack cf subject-matter julisdiction,
pursuant tc Fed. R. Civ. P. lQ(b)(l). Sepulvado v. La. Bd. ofPa)‘dons &Parofe, 114 Fed. Appx. 620,
` 621 (Sth Cir. 2004) (per curiam).
All costs cf court are taxed against Plaintiff.
SO ORDERED.

August 12, 2016.

 

 

 

